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  7 Worldwide Film Productions, LLC
  8                              UNITED STATES DISTRICT COURT
  9               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 10
 11 WORLDWIDE FILM PRODUCTIONS, LLC,                       CASE NO. CV 19-10337
 12                     Plaintiff,                         COMPLAINT FOR:
 13               vs.                                      (1) CONVERSION;
                                                           (2) INTENTIONAL
 14 JPMORGAN CHASE BANK, N.A.,                             MISREPRESENTATION;
    JOHN TORRES, an individual, and                        (3) NEGLIGENT
 15 RAY DAVIDO, an individual,                             MISREPRESENTATION;
                                                           (4) CONCEALMENT;
 16                     Defendants.                        (5) NEGLIGENCE;
                                                           (6) NEGLIGENT HIRING,
 17                                                        SUPERVISION, AND
                                                           RETENTION;
 18                                                        (7) BREACH OF CONTRACT;
                                                           and
 19                                                        (8) PROMISSORY ESTOPPEL
 20
 21
                  Plaintiff, Worldwide Film Productions, LLC (“Worldwide”), by and through
 22
      its undersigned counsel, brings this action against Defendants JPMorgan Chase
 23
      Bank, N.A. (“Chase”), John Torres (“Torres”), and Ray Davido (“Davido”)
 24
      (collectively, “Defendants”), and based on personal knowledge as to itself and upon
 25
      information and belief as to all other matters, alleges as follows:
 26
      //
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  1                                                I.
  2                                  NATURE OF THE ACTION
  3               1.   Worldwide brings this action against all Defendants for converting
  4 Worldwide’s funds; intentionally and negligently misrepresenting material facts and
  5 fraudulently inducing Worldwide to send its funds to Chase; concealing material
  6 facts from Worldwide; and negligently administering, safeguarding, and monitoring
  7 Worldwide’s funds. Additionally, Worldwide brings claims against Chase for
  8 negligently hiring, supervising, and retaining Torres and Davido as Chase bankers,
  9 and for breaching the contract that Chase had with Worldwide regarding the
 10 handling and repayment of Worldwide’s funds. By conspiring with and aiding and
 11 abetting others – including individuals and entities described in this Complaint as
 12 the Forrest Capital Parties, as well as Wells Fargo Bank (“Wells Fargo”) and Wells
 13 Fargo officers – Defendants and others deceived Worldwide into believing that
 14 Worldwide was merely making a short-term loan and/or investment for the
 15 production of a film. Relying on that misrepresentation and others, Worldwide
 16 agreed to participate in the transaction. In reality, almost immediately after
 17 Worldwide extended the loan/investment, Defendants, working with others
 18 (including the Forrest Capital Parties), wrongfully stole, converted, and dissipated
 19 Worldwide’s funds. What Worldwide believed was a legitimate, short-term
 20 financing transaction was in fact an extensive fraudulent enterprise – operated by
 21 Defendants, the Forrest Capital Parties, Wells Fargo, and Wells Fargo officers, all
 22 conspiring with and aiding and abetting each other – through which tens of millions
 23 of dollars of Worldwide’s and other victims’ funds were stolen and diverted.
 24               2.   Defendants played an active and indispensable role in these acts of
 25 conversion, theft, and fraud. Indeed, before Worldwide agreed to make the
 26 loan/investment described in this Complaint, Worldwide conducted extensive due
 27 diligence, including communicating with Defendants. Worldwide requested and
 28 received information from Defendants in order to confirm, among other things, that
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  1 (a) the transaction was legitimate; (b) the other parties to the transaction were
  2 credible and trustworthy; and (c) Chase would protect Worldwide’s funds in secure
  3 accounts – that is, accounts from which Worldwide’s money could not be
  4 withdrawn without Worldwide’s express written consent. Defendants assured
  5 Worldwide, both orally and in writing, that the foregoing material facts were true.
  6 However, Defendants’ representations were false and fraudulent. Worldwide
  7 justifiably relied to its detriment on Defendants’ false and fraudulent
  8 representations. Indeed, without the assurances made by Defendants, Worldwide
  9 never would have lent or invested any funds and never would have participated in
 10 the transaction. Moreover, after Worldwide deposited its funds, Defendants actively
 11 worked to conceal from Worldwide the fraud, theft, and conversion of Worldwide’s
 12 funds – including by sending emails from Chase email addresses and by making
 13 false promises during telephone calls.
 14                                                 II.
 15                                 JURISDICTION AND VENUE
 16               3.   This Court has diversity jurisdiction over this action pursuant to 28
 17 U.S.C. § 1332, because Worldwide and Defendants are citizens of different states
 18 and the amount in controversy exceeds $75,000. Worldwide is incorporated and
 19 headquartered in Indiana. Chase is a national bank with its headquarters in New
 20 York City and its main office in Columbus, Ohio. Torres and Davido are
 21 individuals who reside, work, and are domiciled in California. At all times relevant
 22 to this Complaint, Torres and Davido were bankers for Chase at Chase’s branch
 23 offices in Woodland Hills, California, and elsewhere within the Central District of
 24 California.
 25               4.   This Court has personal jurisdiction over Chase because (a) Chase has
 26 sufficient minimum contacts in California, and otherwise intentionally avails itself
 27 of the California market, so as to render this Court’s jurisdiction over it consistent
 28 with due process and traditional notions of fair play and substantial justice; and (b)
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  1 Worldwide’s claims arise from Chase: (i) operating, conducting, engaging in, and
  2 carrying on its business and business ventures in California and having an office or
  3 agency in California; and (ii) committing a tortious act within California, including
  4 but not limited to misrepresentations made by Chase in California concerning the
  5 security and status of Worldwide’s funds.
  6               5.   This Court has personal jurisdiction over Torres and Davido because
  7 (a) they reside, work, and are domiciled in California, including at all times relevant
  8 to this Complaint; and (b) they committed the tortious acts described in this
  9 Complaint in California.
 10               6.   Venue in this District is appropriate under 28 U.S.C. § 1391(b) because
 11 a substantial part of the events or omissions giving rise to the claims asserted in this
 12 Complaint occurred in this District. Chase is a resident of this District under 28
 13 U.S.C. § 1391(c) because it is subject to the Court’s personal jurisdiction.
 14                                               III.
 15                                         THE PARTIES
 16               7.   Worldwide is an Indiana limited liability company, with its principal
 17 place of business in Indiana.
 18               8.   Chase is a national bank with its headquarters in New York City, its
 19 main office in Columbus, Ohio, and branches in multiple states, including
 20 California. Chase is the principal banking subsidiary of JPMorgan Chase & Co.
 21 Chase offers and provides, among other services, (a) private banking and wealth
 22 management services to high net worth clients; (b) deposit services and deposit
 23 accounts for its clients; and (c) brokerage products and financial advising for its
 24 clients.
 25               9.   At all relevant times until at least August 2018, Chase employed Torres
 26 as a banker at Chase’s branch in Woodland Hills, California. As a Chase banker,
 27 Torres had several duties and responsibilities, including but not limited to: (a)
 28 providing advice to customers and prospective customers; (b) servicing customer
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  1 relationships; (c) speaking and meeting with customers and prospective customers;
  2 (d) selling retail banking products and services to customers and prospective
  3 customers; (e) referring customers and prospective customers to other segments of
  4 Chase and its affiliates; (f) cross-selling all products and services; (g) developing
  5 and maintaining relationships with Chase’s partners and affiliates; (h) reviewing and
  6 processing credit and loan applications; (i) opening, maintaining, and managing
  7 deposit accounts for customers and prospective customers; and (j) managing
  8 customer portfolios. At all times and in all actions relevant to this Complaint,
  9 Torres acted in his capacity as a Chase banker and within the scope of his
 10 employment at Chase. This included, but was not limited to, Torres’ use of his
 11 official Chase email account to send and receive the emails described in this
 12 Complaint. At all times, Torres’ actions as described in this Complaint were (a)
 13 reasonably related to the kinds of tasks that Chase employed him to perform; and (b)
 14 reasonably and generally foreseeable in light of Chase’s business and Torres’ job
 15 responsibilities.
 16               10.   At all relevant times until at least August 2018, Chase employed
 17 Davido as a banker at one or more Chase branches within the Central District of
 18 California. As a Chase banker, Davido had several duties and responsibilities,
 19 including but not limited to duties and responsibilities similar or identical to those
 20 that Torres had. At all times and in all actions relevant to this Complaint, Davido
 21 acted in his capacity as a Chase banker and within the scope of his employment at
 22 Chase. At all times, Davido’s actions as described in this Complaint were (a)
 23 reasonably related to the kinds of tasks that Chase employed him to perform; and (b)
 24 reasonably and generally foreseeable in light of Chase’s business and Davido’s job
 25 responsibilities.
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  1                                                IV.
  2                GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS
  3 A.            The Forrest Capital Parties, Their Film Financing / Investment
  4               Opportunity, And The Financial Institutions’ Role
  5               11.   Benjamin McConley (“McConley”), Jason Van Eman (“Van Eman”),
  6 Ross Marroso (“Marroso”), and their companies, Forrest Capital Partners, Inc.
  7 (“FCP”); Forrest Capital and Co., LLC; Weathervane Productions, Inc.
  8 (“Weathervane”); and WVP Holding, LLC (“WVP”) (collectively, the “Forrest
  9 Capital Parties”), held themselves out as being in the film production financing and
 10 investment business. Broadly speaking, the Forrest Capital Parties and their bankers
 11 – including Defendants, Wells Fargo, and Wells Fargo officers – offered a film
 12 financing/investment opportunity to lenders and investors, which they claimed
 13 worked as follows: a lender/investor, such as Worldwide, would deposit 100% of a
 14 film’s budgeted production costs into a designated account at a financial institution,
 15 including Chase and Wells Fargo. The Forrest Capital Parties purportedly had
 16 accounts at Chase and Wells Fargo that supposedly held substantial funds. The
 17 financial institution, including Chase and Wells Fargo, then would purportedly
 18 “match” the lender/investor’s funds with an equal amount of funds belonging to the
 19 Forrest Capital Parties. Once the lender/investor’s contribution was matched by the
 20 Forrest Capital Parties’ funds, the financial institution, including Chase and Wells
 21 Fargo, would issue a line of credit for 200% of the film’s budgeted production costs.
 22 One-half of the proceeds of that line of credit would be used to pay back the
 23 lender/investor’s initial investment, plus a fee of 5% of the amount contributed by
 24 the lender/investor, while the remaining amount of the line of credit would be used
 25 to finance the production of the film.
 26               12.   For example, if a film’s budgeted production cost was $100, a
 27 lender/investor would deposit $100 into a Chase account. Chase would match that
 28 deposit with $100 from the Forrest Capital Parties’ accounts held at Chase. Chase
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  1 would then issue a line of credit in the amount of $200. From the line of credit,
  2 $100 plus a fee of $5.00 would be used to pay back the lender/investor, leaving $95
  3 to fund the film. At that point, the film would be financed; the lender/investor
  4 would have recovered its loan/investment plus a 5% return; the line of credit issued
  5 by Chase would be fully collateralized in the amount of $200 (consisting of the
  6 lender/investor’s contribution and the Forrest Capital Parties’ matching funds); and
  7 Chase would have the expectation of receiving from the Forrest Capital Parties full
  8 repayment (with interest) on the line of credit.
  9               13.   The matched financing/investment opportunity pitched by the Forrest
 10 Capital Parties, Defendants, Wells Fargo, and Wells Fargo officers is not uncommon
 11 in the film financing industry. Film financiers sometimes agree to finance and/or
 12 invest in the production of films if the producer agrees to provide matching funds, as
 13 the Forrest Capital Parties promised to do.
 14               14.   However, unbeknownst to Worldwide and other victims, the particular
 15 transactions touted by the Forrest Capital Parties, Defendants, Wells Fargo, and
 16 Wells Fargo officers were all fraudulent. Neither the Forrest Capital Parties,
 17 Defendants, Wells Fargo, nor Wells Fargo officers ever intended to keep their
 18 victims’ funds in secure accounts, match their victims’ funds with the Forrest
 19 Capital Parties’ assets, issue lines of credit for the financing of films, or repay their
 20 victims. Instead, almost as soon as the victims’ funds were deposited, the Forrest
 21 Capital Parties, Defendants, Wells Fargo, and Wells Fargo officers – all conspiring
 22 with and aiding and abetting each other – stole and converted those funds for their
 23 own purposes and failed to fulfill their promises to the victims.
 24 B.            The Solicitation Of Funds From Worldwide
 25               15.   In 2016, Neal Edelstein (“Edelstein”), a prominent and well-regarded
 26 Chicago-based film producer, began producing Bleed Into One, a feature film he had
 27 written. In the course of searching for financing or investment of $8,000,000 to
 28 $9,000,000 for the film, Edelstein learned about the Forrest Capital Parties’ matched
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  1 financing/investment opportunity. Edelstein also was referred to Worldwide as a
  2 potential lender/investor for Bleed Into One.
  3               16.   After Edelstein was referred to Worldwide in the latter part of 2016, an
  4 initial meeting was held between Worldwide, Edelstein, and others. During the
  5 meeting, Worldwide and Edelstein were informed that: (a) Worldwide would loan or
  6 invest $9,000,000 in cash into a Chase account; (b) Chase would hold Worldwide’s
  7 funds in a secured account; (c) the Forrest Capital Parties would match Worldwide’s
  8 $9,000,000 with their own assets held at Chase; (d) Chase would open a line of
  9 credit in the amount of $18,000,000; and (e) from the line of credit, Worldwide
 10 would receive its initial $9,000,000 loan/investment back with an additional 5%
 11 ($450,000) finance fee. Based on these representations, Worldwide agreed in
 12 principle to invest in the film.
 13 C.            Worldwide’s Due Diligence Into Chase And The Forrest Capital Parties
 14               17.   Worldwide’s agreement in principle to invest in the film was
 15 contingent and conditioned on successful due diligence into the Forrest Capital
 16 Parties and their relationship with Chase. Specifically, Worldwide required
 17 confirmation and proof that, among other things, (a) the Forrest Capital Parties were
 18 in fact clients in good standing of Chase; (b) the Forrest Capital Parties had
 19 sufficient assets at Chase to match Worldwide’s funds and collateralize the line of
 20 credit; (c) the Forrest Capital Parties’ matched financing/investment opportunity
 21 was a bona fide financing structure supported and approved by Chase; and (d) once
 22 Worldwide’s funds were deposited into the project account at Chase, they could not
 23 be disbursed or withdrawn from the account without Worldwide’s consent.
 24               18.   In order to confirm the foregoing material conditions precedent,
 25 Worldwide communicated with Van Eman, a key principal of the Forrest Capital
 26 Parties. Van Eman assured Worldwide that (a) the Forrest Capital Parties had a
 27 banking relationship in good standing with Chase; (b) the Forrest Capital Parties had
 28 sufficient assets at Chase; (c) the financing of the film would proceed as Worldwide
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  1 had been promised; (d) Worldwide’s funds would be maintained in a restricted
  2 project account at Chase, from which they could not be disbursed or withdrawn
  3 without Worldwide’s express written consent; and (e) Chase could and would
  4 confirm all of these facts in writing.
  5               19.   Worldwide also conducted substantial due diligence into and from
  6 Chase. As an integral part of this due diligence, Worldwide sought and received
  7 assurances from Chase that (a) the Forrest Capital Parties in fact had millions of
  8 dollars in assets at Chase; (b) Chase would manage the film’s project account
  9 consistently with the promises made to Worldwide; and (c) the bank account(s) into
 10 which Worldwide’s funds would be deposited were in fact secure, as the Forrest
 11 Capital Parties promised they would be.
 12               20.   Worldwide trusted the Chase brand, both as a global financial
 13 institution and as a pillar of the American banking system. Had Chase told
 14 Worldwide the truth – namely, that (a) the Forrest Capital Parties did not in fact
 15 have millions of dollars in assets at Chase; (b) Chase would not manage the film’s
 16 account consistently with the promises made to Worldwide; and (c) Worldwide’s
 17 funds would not be kept in secured accounts, but rather would be disbursed and
 18 withdrawn from the original accounts at Chase soon after they were deposited –
 19 Worldwide never would have become involved with the Forrest Capital Parties or
 20 their film financing project, and never would have deposited funds at Chase.
 21 D.            The Funding Agreement
 22               21.   In January 2017, Worldwide and the Forrest Capital Parties began
 23 negotiating a Funding Agreement for Bleed Into One. The final Funding
 24 Agreement, dated June 5, 2017, contained the following material terms and
 25 representations, among others:
 26                     a.    Worldwide would deposit $9,000,000 into a restricted Chase
 27 account, the operations of which were subject to Worldwide’s consent.
 28 Worldwide’s funds could be used only for the purpose of obtaining a Chase line of
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   1 credit, and could not be conveyed, transferred, or otherwise removed from the
   2 restricted Chase account.
   3                    b.    Not later than five (5) banking days after Worldwide deposited
   4 the $9,000,000, the Forrest Capital Parties would deposit into the restricted Chase
   5 account “qualifying assets as determined by Chase” in the value of $9,000,000.
   6                    c.    The Forrest Capital Parties’ assets at Chase were liquid assets,
   7 which could and would be used to be the collateral for the line of credit.
   8                    d.    After both deposits were made into the restricted Chase account,
   9 Chase would confirm in writing to both the Forrest Capital Parties and Worldwide
  10 the full amount on deposit in the restricted Chase account.
  11                    e.    Within 120 calendar days from the date on which Worldwide
  12 deposited its $9,000,000, Chase would open a line of credit in the amount of
  13 $18,000,000. If Chase did not do so, Worldwide had the authority to direct Chase to
  14 retain its $9,000,000 deposit with interest accruing at the rate of one percent per
  15 month for each month that the deposit amount remained in the account.
  16                    f.    Once Chase approved and drew down the $18,000,000 line of
  17 credit, Chase would wire $9,000,000 to Worldwide to repay Worldwide’s initial
  18 contribution. Chase would wire the remaining $9,000,000 to Weathervane (one of
  19 the Forrest Capital Parties), and Weathervane would release 5% of that amount
  20 ($450,000) to Worldwide as a financing fee. Weathervane would wire the
  21 remaining $8,550,000 to Bleed Into One, LLC for the production of Bleed Into One.
  22                    g.    A “Condition Precedent” to the Funding Agreement was
  23 Worldwide’s “receipt of the written confirmation from Chase to [Worldwide] in the
  24 form of a bank letter on Chase letterhead in a form approved by [Worldwide] that
  25 confirms, amongst other things, that Chase shall only act, in relation to all matters
  26 concerning the [restricted Chase account] and the [Weathervane] Line of Credit . . .,
  27 in accordance with the provisions of th[e Funding] Agreement[.]”
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   1               22.   In truth and in fact – although Worldwide did not know it or have any
   2 reason to suspect it – the terms and representations set forth in the Funding Letter as
   3 described in paragraphs 21(b) through 21(f) were false, fraudulent, and misleading.
   4 The Forrest Capital Parties did not intend to and would not deposit into the restricted
   5 Chase account assets valued at $9,000,000. The Forrest Capital Parties did not have
   6 sufficient assets at Chase to fulfill their obligations under the Funding Agreement,
   7 much less sufficient liquid assets that could and would be used as collateral for the
   8 line of credit. Although Chase and Torres would, and indeed later did, confirm in
   9 writing that the full $18,000,000 was on deposit in the restricted Chase account, that
  10 confirmation was false and fraudulent when it was made. Chase did not intend to
  11 and would not open a line of credit in the amount of $18,000,000. Chase did not
  12 intend to and would not wire $9,000,000 from any such line of credit to Worldwide
  13 to repay Worldwide’s initial contribution.
  14 E.            Defendants’ False Representations About The Funding Agreement
  15               23.   On or about June 12, 2017 – only one week after the date of the
  16 Funding Agreement – Van Eman purportedly contacted Chase so that Chase could
  17 issue the confirmation letter required by the Funding Agreement. Van Eman stated
  18 that the parties were ready to wire their respective shares of $9,000,000 to Chase
  19 once the “parties receive[d] the confirmation letter from Chase.” Van Eman
  20 attached a copy of the Funding Agreement. Worldwide was copied on this email.
  21               24.   On or about June 13, 2017, the Forrest Capital Parties purportedly
  22 forwarded Van Eman’s email to a second Chase employee. The Forrest Capital
  23 Parties asked Chase to confirm receipt of Van Eman’s email. The June 13 email
  24 also stated that the Forrest Capital Parties would forward the Chase account
  25 verification letter to their partners.
  26               25.   On or about June 14, 2017, Torres confirmed by email to Worldwide
  27 and others that he had received the Funding Agreement for the Bleed Into One
  28 project. Torres assured Worldwide that he would send a confirmation letter to the
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   1 Forrest Capital Parties, which would then forward that confirmation letter to
   2 Worldwide.
   3               26.   On or about June 14, 2017, Torres executed the confirmation letter that
   4 he had promised. In the letter, which was written on official Chase letterhead,
   5 Torres – in his capacity as a Vice President and Private Client Banker at Chase’s
   6 branch in Woodland Hills, California – attested, among other things, that (a) Chase
   7 would open and manage the project account in accordance with the Funding
   8 Agreement; (b) the Forrest Capital Parties’ accounts at Chase were “in good
   9 standing and the allocated funds in such accounts amounts to over US$9,000,000
  10 and are free of any restrictions or holds”; and (c) in accordance with the Funding
  11 Agreement, which Chase had received and understood, Chase would open an
  12 additional account and issue a line of credit in the amount of $18,000,000 in the
  13 names of both Weathervane and Worldwide. Torres also stated that the appropriate
  14 funding account, for Worldwide to send its funds, was the FCP Master Holding
  15 Account (“the 1665 Holding Account”).
  16               27.   Although Worldwide did not know it or have any reason to suspect it,
  17 all of the statements, representations, and promises in paragraphs 2, 19, and 25-26
  18 were false and fraudulent and were intended to falsely legitimize the Forrest Capital
  19 Parties and to induce Worldwide into proceeding with the film financing project. In
  20 truth and in fact, (a) Chase did not intend to and would not open or manage the
  21 project account in accordance with the Funding Agreement; (b) the Forrest Capital
  22 Parties did not have accounts at Chase in good standing with unrestricted funds over
  23 $9,000,000; and (c) Chase did not intend to and would not open an additional
  24 account or issue an $18,000,000 line of credit in accordance with the Funding
  25 Agreement.
  26               28.   Believing that Torres was being truthful, and that he was speaking and
  27 acting on Chase’s behalf, Worldwide justifiably relied on Chase’s and Torres’
  28 representations and proceeded with the film financing project.
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   1 F.            Worldwide’s Deposit Of Funds With Chase, And Defendants’
   2               Subsequent False Representations
   3               29.   On or about June 20, 2017, in accordance with the Funding Agreement,
   4 and relying on Chase’s and Torres’ representations, Worldwide wired $9,000,000 to
   5 the 1665 Holding Account at Chase.
   6               30.   On or about June 26, 2017, Torres notified Worldwide by email that the
   7 $9,000,000 deposit had posted.
   8               31.   On or about July 6, 2017, Torres represented to Worldwide by email
   9 that Chase had received both Worldwide’s and the Forrest Capital Parties’
  10 contributions.
  11               32.   On or about July 6, 2017, Worldwide asked Torres for the account
  12 information so that Worldwide could confirm that there was in fact $18,000,000 on
  13 deposit at Chase. Torres claimed that he could only provide account information or
  14 personal information in person or by phone to the signers on the account, but not by
  15 email. In response, Worldwide reminded Torres that the June 14 letter “which
  16 [Chase] signed . . . requires [Chase] to follow the funding agreement not bank policy
  17 on these issues[.]”
  18               33.   On or about July 25, 2017, Torres represented to Worldwide and to the
  19 Forrest Capital Parties by email that the “project account ha[d] been set up and
  20 [was] waiting for approved contributions to hard post.”
  21               34.   On or about July 27, 2017, Torres represented by email that (a) both
  22 Worldwide’s and the Forrest Capital Parties’ contributions had posted; and (b) he
  23 would provide the Forrest Capital Parties with the statement of the account once it
  24 was generated.
  25               35.   On or about August 4, 2017, Van Eman represented to Worldwide and
  26 others that a Chase account 929910698 (the “0698 Project Account”) had been
  27 opened and contained $18,001,000. Van Eman sent a purported Chase Deposit
  28 Account Balance Summary, supposedly demonstrating this $18,001,000 balance, to
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   1 Worldwide.
   2               36.   On or about August 5, 2017, Torres represented by email to Worldwide
   3 and others that “The balances are accurate to date. [Worldwide’s] initial
   4 contribution and [the Forrest Capital Parties’] obligated match have been funded in
   5 the newly created account of which was provided on the statement.”
   6               37.   However, without Worldwide’s knowledge, permission, or approval,
   7 and in violation of the Funding Agreement and Chase’s representations to
   8 Worldwide, Chase had designated two Forrest Capital Parties (FCP and McConley),
   9 and no other party, as the sole signatories on the 0698 Project Account. According
  10 to the Funding Agreement – the terms of which Chase and Torres had promised to
  11 honor – Worldwide was to be a signatory on the account.
  12               38.   On or about August 18, 2017, by email, Torres gave various excuses
  13 for his exclusion of Worldwide as a signatory on the 0698 Project Account, and
  14 claimed that he would add Worldwide as a signatory.
  15               39.   On or about August 24, 2017, in a telephone call, Torres assured
  16 Worldwide that (a) he would add Worldwide as a signatory on the 0698 Project
  17 Account; (b) the account number for the 0698 Project Account would not change;
  18 (c) he was familiar with the Funding Agreement and its terms; (d) no transactions
  19 from the 0698 Project Account would occur unless Worldwide signed off on them;
  20 (e) Chase would wire $9,000,000 to Worldwide once Chase opened the $18,000,000
  21 line of credit; and (f) the money in the 0698 Project Account could not, under any
  22 circumstances, be withdrawn from the account without Worldwide’s consent.
  23               40.   All of the statements, representations, and promises in paragraphs 2,
  24 19, 25-26, 31, 33-34, 36, and 38-39, which were made by Torres and Chase, were
  25 false and fraudulent. Neither Torres nor Chase ever performed or followed through
  26 on any of their promises to Worldwide. Worldwide has never had, and to this day
  27 still does not have, access to the 1665 Holding Account or the 0698 Project
  28 Account.
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   1 G.            Defendants’ Theft And Conversion of Worldwide’s Funds
   2               41.   On or about October 6, 2017, Torres notified Worldwide by email that
   3 Chase had initiated a wire to Worldwide’s account. However, Worldwide received
   4 no such wire. Torres then promised that Worldwide would receive it after the
   5 Columbus Day holiday.
   6               42.   On or about October 10, 2017, Worldwide did receive a wire-transfer,
   7 but only for approximately $57,000. Moreover, it was not from the 0698 Project
   8 Account, but rather from an account number that Worldwide had never seen before:
   9 Account Number 207063790 (the “3790 Account”).
  10               43.   The Forrest Capital Parties, with the assistance of Torres and Davido,
  11 had surreptitiously opened the 3790 Account, without Worldwide’s knowledge,
  12 permission, or participation, on or about September 1, 2017 – well over one month
  13 before sending the $57,000 wire and soon after Torres had confirmed that the 0698
  14 Project Account had a balance of $18,001,000. According to purported Chase
  15 documentation, the 3790 Account was purportedly held by “FCP Master Holding
  16 Account Restricted for Bleed Into One, Inc.” Neither the Funding Agreement, nor
  17 the June 14, 2017 letter from Torres on official Chase letterhead, nor anything else
  18 permitted Worldwide’s funds to be transferred to (or from) the 3790 Account.
  19               44.   Between about October 13 and about October 26, 2017, Worldwide
  20 sought assurances from Davido. Davido stated that he was now the Chase banker
  21 assigned to the Forrest Capital Parties’ accounts. Davido falsely represented that (a)
  22 Worldwide’s funds were secure; (b) the Forrest Capital Parties had matched
  23 Worldwide’s $9,000,000 deposit with assets held at Chase; (c) Chase had already
  24 approved the film’s $18,000,000 line of credit; and (d) Worldwide’s $9,000,000
  25 investment was being wired back to Worldwide in accordance with the Funding
  26 Agreement.
  27               45.   On or about October 25, 2017, the Forrest Capital Parties sent
  28 Worldwide a document purportedly outlining the account activity for the 3790
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   1 Account, including the following purported activity:
   2                     a.    The 3790 Account purportedly received deposits totaling
   3 $177,000 from the 1665 Holding Account on or about October 20, 2017. However,
   4 according to Torres’ August 5, 2017 email, the balance in the 1665 Holding
   5 Account on October 20, 2017, should have been $0 because the $18,000,000
   6 originally in the 1665 Holding Account had already been transferred to the 0698
   7 Project Account on or before August 5, 2017.
   8                     b.    The 3790 Account purportedly received a deposit of $90,000
   9 from the 0698 Project Account on or about October 20, 2017. However, in the
  10 August 24, 2017 telephone call, Torres had promised that no funds would be
  11 disbursed from the 0698 Project Account without Worldwide’s consent. Because
  12 Worldwide never authorized the $90,000 disbursement, it should never have been
  13 made.
  14                     c.    The 3790 Account purportedly received deposits from accounts
  15 that were and are entirely unknown to Worldwide. These included deposits totaling
  16 $90,000 from a checking account ending in 0730 and deposits totaling $600,000
  17 from a money market account ending in 1673. Worldwide has never heard of these
  18 accounts and never authorized these deposits. Chase never gave any notice or
  19 information to Worldwide about these deposits. Because these deposits were
  20 initiated from Chase accounts and made to Chase accounts, Chase and Torres
  21 knew—or, with reasonable diligence, should have known—that they were
  22 occurring.
  23               46.   Neither the Forrest Capital Parties nor Defendants ever intended to
  24 keep Worldwide’s funds in secure accounts, match Worldwide’s funds with the
  25 Forrest Capital Parties’ assets, issue a line of credit for the financing of Bleed Into
  26 One, or repay Worldwide. Instead, almost as soon as Worldwide’s funds were
  27 deposited, the Forrest Capital Parties and Defendants stole and converted those
  28 funds for their own purposes and failed to provide the timely matched funding that
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   1 was promised. As a direct result of Defendants’ misrepresentations and false and
   2 fraudulent statements, Worldwide entered into the Funding Agreement and
   3 maintained its loan/investment in the film.
   4               47.   Defendants’ misrepresentations, false and fraudulent statements, and
   5 concealment of material facts convinced Worldwide that the film financing
   6 transaction was proceeding in accordance with the Funding Agreement. Defendants
   7 and the Forrest Capital Parties thereby concealed from Worldwide their theft and
   8 conversion of Worldwide’s funds.
   9               48.   Had Worldwide known that Defendants and the Forrest Capital Parties
  10 had disbursed Worldwide’s funds from the original account(s) and then transferred
  11 those funds to accounts belonging to or controlled by McConley, Van Eman, other
  12 Forrest Capital Parties, and others, Worldwide never would have made a loan to or
  13 investment in the film financing project or deposited funds into Chase accounts.
  14               49.   Despite Defendants’ actual or constructive knowledge that the Forrest
  15 Capital Parties were using Chase accounts to defraud lenders and investors and to
  16 convert funds, Defendants wrongly and unjustifiably failed and refused to (a) sever
  17 their relationships with the Forrest Capital Parties; (b) close the Forrest Capital
  18 Parties’ accounts at Chase in a timely fashion; (c) prevent the Forrest Capital Parties
  19 from opening new accounts at Chase; (d) notify Worldwide about the fraudulent
  20 nature of the Forrest Capital Parties’ business scheme; and (e) tell Worldwide the
  21 truth about the Forrest Capital Parties.
  22               50.   Furthermore, despite Defendants’ actual or constructive knowledge that
  23 the Forrest Capital Parties were using accounts to defraud lenders and investors and
  24 to convert funds, Defendants continued to misrepresent – at meetings, in emails, and
  25 in telephone calls – that (a) the Forrest Capital Parties were legitimate; (b)
  26 Worldwide’s funds would be and were being held in restricted and secure accounts;
  27 (c) the Forrest Capital Parties had millions of dollars on reserve with Chase; (d)
  28 Worldwide’s funds had been successfully matched by the Forrest Capital Parties’
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   1 funds; and (e) the transaction was proceeding as planned.
   2               51.   To this day, Worldwide has never recovered its $9,000,000 from any
   3 Chase line of credit, in violation of the Funding Agreement and Defendants’
   4 promises and representations.
   5 H.            The Forrest Capital Parties’ Perpetration Of The Same Fraudulent
   6               Scheme With Wells Fargo Bank
   7               52.   Worldwide is not the only victim of the fraudulent scheme described in
   8 this Complaint, nor is Chase the only financial institution that worked with the
   9 Forrest Capital Parties to perpetrate it. Wells Fargo and its officers also participated
  10 in the same scheme, and conspired with and aided and abetted the Forrest Capital
  11 Parties and Defendants.
  12               53.   Since 2014, various combinations of McConley, Van Eman, and other
  13 Forrest Capital Parties have been sued in no fewer than eight civil actions. Wells
  14 Fargo is also a defendant in many of them. These include Buzbee v. Dickie, et al.,
  15 Case No. 4:14-cv-03431 (S.D. Texas. 2014); Adana Investing Inc., v. Wells Fargo
  16 Bank, N.A., et al., Case No. 1:16-cv-21562-UU (S.D. Fla. 2016); Aldamisa
  17 Entertainment, LLC v. Wells Fargo Bank, N.A., et al., Case No. 16-cv-028537-CA-
  18 01 (Fla. 11th Cir. Ct. 2016); 818 Media Productions v. Wells Fargo Bank, N.A., et
  19 al., Case No. BC641457 (Cal. Super. Ct. 2016); SSC North America LLC v. Wells
  20 Fargo Bank, N.A., et al., Case No. 16-cv-031195-CA-11 (Fla. 11th Cir. Ct. 2016);
  21 Vandermolen Film Co. Ltd., et al., v. Wells Fargo Bank N.A., et al., Case No. 16-cv-
  22 031707-CA-01 (Fla. 11th Cir. Ct. 2016); BSFG V1 LLC v. Wells Fargo Bank N.A.,
  23 et al., Case No. 16-cv-32212-CA-01 (Fla. 11th Cir. Ct. 2016); and Isabella’s Basil
  24 Productions Ltd. v. Wells Fargo Bank, N.A. et al.
  25               54.   As described in these cases, the Forrest Capital Parties perpetrated the
  26 identical fraud, in precisely the same manner, with Wells Fargo. Specifically, the
  27 Forrest Capital Parties and Wells Fargo induced victims to deposit loans and/or
  28 investments into Wells Fargo accounts for the production of films. The Forrest
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   1 Capital Parties and Wells Fargo promised to match those loans with the Forrest
   2 Capital Parties’ assets under management at Wells Fargo. Wells Fargo promised to
   3 issue lines of credit for the production of the films once the loan proceeds were
   4 matched. Instead, as here, the Forrest Capital Parties and Wells Fargo committed
   5 fraud, civil conspiracy, conversion, and other violations.
   6               55.   In July 2019, McConley, Van Eman, and Wells Fargo banker Benjamin
   7 Rafael (“Rafael”) were criminally indicted in the United States District Court for the
   8 Southern District of Florida based on their perpetration of the fraudulent scheme.
   9 United States v. McConley et al., Case No. 1:19-cr-20447 (S.D. Fla 2019). As
  10 described by the government, the defendants stole tens of millions of dollars from
  11 lenders and investors for film and theater productions. Furthermore, in his capacity
  12 as a Wells Fargo banker, Rafael repeatedly and falsely assured victims that (a)
  13 matching funds had been deposited; (b) McConley and Van Eman had applied for
  14 lines of credit; (c) the funding agreements had been “lodged” or recorded at Wells
  15 Fargo; and (d) Wells Fargo was a party to the funding agreements or was otherwise
  16 bound by them. Rafael’s false assurances to victims were similar, if not nearly
  17 identical, to the false representations made to Worldwide by Chase, Torres, and
  18 Davido, as described in paragraphs 2, 19, 25-26, 31, 33-34, 36, and 38-39.
  19               56.   On or about October 25, 2019, McConley pled guilty to conspiracy to
  20 commit wire fraud. On or about October 30, 2019, Rafael pled guilty to conspiracy
  21 to commit wire fraud.
  22                                                V.
  23                                     CAUSES OF ACTION
  24 A.            First Cause Of Action: Conversion (As Against All Defendants)
  25               57.   Worldwide hereby re-alleges and incorporates paragraphs 1-56 as if
  26 fully set forth herein.
  27               58.   At all times relevant to this Complaint, Worldwide owned and had a
  28 right to possess the $9,000,000 that it deposited with Chase in accordance with the
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   1 Funding Agreement and in reliance on Defendants’ representations.
   2               59.   Defendants substantially interfered with Worldwide’s property by
   3 knowingly and intentionally taking possession of it, preventing Worldwide from
   4 having access to it, and refusing to return it upon Worldwide’s demand.
   5               60.   Worldwide did not consent to Defendants’ wrongful conversion of
   6 Worldwide’s funds.
   7               61.   Worldwide was harmed by, among other things, loss of use of its
   8 $9,000,000 loan/investment and loss of the promised return on its loan/investment.
   9               62.   Defendants’ conduct was a substantial factor in causing Worldwide’s
  10 harm.
  11 B.            Second Cause Of Action: Intentional Misrepresentation (As Against All
  12               Defendants) [Cal. Civ. Code §§ 1572(1), 1710(1)]
  13               63.   Worldwide hereby re-alleges and incorporates paragraphs 1-62 as if
  14 fully set forth herein.
  15               64.   Defendants made false statements and misrepresentations to Worldwide
  16 about facts material to Worldwide’s participation in the film financing transaction,
  17 including but not limited to the false statements and misrepresentations described in
  18 paragraphs 2, 19, 25-26, 31, 33-34, 36, and 38-39.
  19               65.   Defendants knew that the false statements and misrepresentations were
  20 false when they made them, and Defendants made them recklessly and without
  21 regard for their truth.
  22               66.   Defendants intended that Worldwide rely on the false statements and
  23 misrepresentations, including that Worldwide make and maintain its $9,000,000
  24 loan/investment in the film financing transaction, to Worldwide’s injury and risk.
  25               67.   Worldwide reasonably and justifiably relied on Defendants’ false
  26 statements and misrepresentations, including by making and maintaining its
  27 $9,000,000 loan/investment in the film financing transaction, which Worldwide
  28 would not have done but for Defendants’ false statements and misrepresentations.
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   1               68.   Worldwide’s reasonable and justifiable reliance on Defendants’ false
   2 statements and misrepresentations was a substantial factor in causing Worldwide’s
   3 harm.
   4               69.   Due to Defendants’ fraudulent scheme and their concealment of it,
   5 Worldwide did not know, and could not have known through any reasonable
   6 diligence, about Defendants’ false statements or misrepresentations.
   7 C.            Third Cause Of Action: Negligent Misrepresentation (As Against All
   8               Defendants) [Cal. Civ. Code § 1710(2)]
   9               70.   Worldwide hereby re-alleges and incorporates paragraphs 1-69 as if
  10 fully set forth herein.
  11               71.   Defendants made false statements and misrepresentations to Worldwide
  12 about facts material to Worldwide’s participation in the film financing transaction,
  13 including but not limited to the false statements and misrepresentations described in
  14 paragraphs 2, 19, 25-26, 31, 33-34, 36, and 38-39.
  15               72.   Defendants had no reasonable grounds for believing that the
  16 representations they made to Worldwide were true when Defendants made them.
  17               73.   Defendants intended that Worldwide rely on the false statements and
  18 misrepresentations, including that Worldwide make and maintain its $9,000,000
  19 loan/investment in the film financing transaction, to Worldwide’s injury and risk.
  20               74.   Worldwide reasonably and justifiably relied on Defendants’ false
  21 statements and misrepresentations, including by making and maintaining its
  22 $9,000,000 loan/investment in the film financing transaction, which Worldwide
  23 would not have done but for Defendants’ false statements and misrepresentations.
  24               75.   Worldwide’s reasonable and justifiable reliance on Defendants’ false
  25 statements and misrepresentations was a substantial factor in causing Worldwide’s
  26 harm.
  27               76.   Due to Defendants’ fraudulent scheme and their concealment of it,
  28 Worldwide did not know, and could not have known through any reasonable
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   1 diligence, about Defendants’ false statements or misrepresentations.
   2 D.            Fourth Cause Of Action: Concealment (As Against All Defendants) [Cal.
   3               Civ. Code §§ 1572(3), 1710(3)
   4               77.   Worldwide hereby re-alleges and incorporates paragraphs 1-76 as if
   5 fully set forth herein.
   6               78.   Defendants (a) disclosed some facts to Worldwide but intentionally
   7 failed to disclose other facts, making the disclosure deceptive; (b) intentionally
   8 failed to disclose facts that were known only to them and that Worldwide could not
   9 have discovered; and (c) prevented Worldwide from discovering certain facts. The
  10 facts that Defendants intentionally failed to disclose and prevented Worldwide from
  11 discovering include, but are not limited to, the facts described in paragraphs 14, 20,
  12 22, 27, 46, and 48.
  13               79.   Worldwide did not know of the concealed facts.
  14               80.   Defendants intended to deceive Worldwide by concealing these facts.
  15               81.   Had the omitted information been disclosed, Worldwide reasonably and
  16 justifiably would not have made or maintained its $9,000,000 loan/investment in the
  17 film financing transaction.
  18               82.   The concealment committed by Defendants was a substantial factor in
  19 causing Worldwide’s harm.
  20               83.   Due to the fraudulent scheme and Defendants’ concealment of it,
  21 Worldwide did not know, and could not have known through any reasonable
  22 diligence, about the concealment.
  23 E.            Fifth Cause Of Action: Negligence (As Against All Defendants)
  24               84.   Worldwide hereby re-alleges and incorporates paragraphs 1-83 as if
  25 fully set forth herein.
  26               85.   Defendants had a duty to use due care in administering, safeguarding,
  27 and monitoring the funds lent and/or invested by Worldwide for the production of
  28 Bleed Into One.
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   1               86.   Defendants breached their duty of care by, among other things, (a)
   2 making material false and fraudulent statements and misrepresentations to
   3 Worldwide; (b) concealing material facts from Worldwide; and (c) converting and
   4 dissipating Worldwide’s funds.
   5               87.   Defendants’ breach of their duty of care was a substantial factor in
   6 causing Worldwide’s harm.
   7 F.            Sixth Cause Of Action: Negligent Hiring, Supervision, And Retention (As
   8               Against Chase)
   9               88.   Worldwide hereby re-alleges and incorporates paragraphs 1-87 as if
  10 fully set forth herein.
  11               89.   Chase hired Torres and Davido.
  12               90.   Torres and Davido were and became unfit and incompetent to perform
  13 the work for which Chase hired them. Their unfitness and incompetence included,
  14 but was not limited to, their participation in the conversion, fraud, and other legal
  15 violations described in this Complaint.
  16               91.   Chase knew or should have known that (a) Torres and Davido were and
  17 became unfit and incompetent; and (b) their unfitness and incompetence created a
  18 particular risk to others, including to Worldwide.
  19               92.   Torres’ and Davido’s unfitness and incompetence harmed Worldwide.
  20               93.   Chase’s negligence in hiring, supervising, and retaining Torres and
  21 Davido was a substantial factor in causing Worldwide’s harm.
  22 G.            Seventh Cause Of Action: Breach Of Contract (As Against Chase)
  23               94.   Worldwide hereby re-alleges and incorporates paragraphs 1-93 as if
  24 fully set forth herein.
  25               95.   Chase and Worldwide entered into a valid and binding contract
  26 regarding Chase’s handling of Worldwide’s $9,000,000 loan/investment into the
  27 production of Bleed Into One.
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   1               96.   Pursuant to that contract, Chase promised, among other things, that (a)
   2 Chase would open and manage the project account in accordance with the Funding
   3 Agreement; (b) in accordance with the Funding Agreement, which Chase had
   4 received and understood, Chase would open an additional account and issue a line of
   5 credit in the amount of $18,000,000 in the names of both Weathervane and
   6 Worldwide; and (c) Chase would return Worldwide’s $9,000,000 loan/investment,
   7 plus the 5% financing fee, to Worldwide in accordance with the Funding
   8 Agreement.
   9               97.   Chase breached each and every one of the promises made to
  10 Worldwide, including but not limited to the promises set forth in paragraph 96.
  11               98.   As a result of Chase’s breach of contract, Worldwide was harmed by
  12 the loss of its $9,000,000, Chase’s failure to pay the 5% financing fee, and in other
  13 ways.
  14 H.            Eighth Cause Of Action: Promissory Estoppel (As Against Chase)
  15               99.   Worldwide hereby re-alleges and incorporates paragraphs 1-98 as if
  16 fully set forth herein.
  17               100. Chase, acting by and through its officers and employees, including
  18 Torres and Davido, promised Worldwide that, among other things: (a) Chase would
  19 open and manage the project account in accordance with the Funding Agreement;
  20 (b) the Forrest Capital Parties’ accounts at Chase were “in good standing and the
  21 allocated funds in such accounts amounts to over US$9,000,000 and are free of any
  22 restrictions or holds”; (c) in accordance with the Funding Agreement, which Chase
  23 had received and understood, Chase would open an additional account and issue a
  24 line of credit in the amount of $18,000,000 in the names of both Weathervane and
  25 Worldwide; and (d) Chase would return Worldwide’s $9,000,000 loan/investment,
  26 plus the 5% financing fee, to Worldwide in accordance with the Funding
  27 Agreement.
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   1               101. Worldwide justifiably relied to its substantial detriment on the promises
   2 made by Chase and its officers and employees, which – unbeknownst to Worldwide
   3 – were false and fraudulent.
   4               102. Worldwide’s reliance was reasonable and foreseeable. Indeed, without
   5 the assurances made by Chase, Torres, and Davido, Worldwide never would have
   6 lent or invested any funds and never would have participated in the transaction.
   7               103. As a result of Worldwide’s reliance on the promises made by Chase,
   8 including but not limited to the promises set forth in paragraph 100, Worldwide has
   9 been, and continues to be, significantly harmed and damaged.
  10                                                 VI.
  11                                     PRAYER FOR RELIEF
  12                   WHEREFORE, Worldwide prays for relief and judgment, as follows:
  13               104. The entry of judgment in favor of Worldwide and against Defendants,
  14 jointly and severally;
  15               105. An award of compensatory and consequential damages in favor of
  16 Worldwide for all damages sustained as a result of Defendants’ wrongdoing, in an
  17 amount to be proven at trial, including pre-judgment and post-judgment interest
  18 thereon;
  19               106. An award of restitution, in an amount to be proven at trial, including
  20 pre-judgment and post-judgment interest thereon;
  21               107. An award of punitive damages in favor of Worldwide, in an amount to
  22 be proven at trial, including pre-judgment and post-judgment interest thereon;
  23               108. An award of Worldwide’s reasonable costs and expenses incurred in
  24 this action, including attorneys’ fees and expert fees, in an amount to be proven at
  25 trial, including pre-judgment and post-judgment interest thereon;
  26               109. An award of extraordinary, equitable, and/or injunctive relief as
  27 permitted by law and equity; and
  28               110. Such other and further relief as the Court may deem just and proper.
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   1                                                 VII.
   2                                     JURY TRIAL DEMAND
   3               111. Worldwide hereby demands a trial by jury in this action on all issues
   4 triable by a jury.
   5
   6 DATED: December 5, 2019                   Respectfully submitted,
   7
                                               Mark T. Drooks
   8                                           Jeremy D. Matz
                                               Bird, Marella, Boxer, Wolpert, Nessim,
   9
                                               Drooks, Lincenberg & Rhow, P.C.
  10
  11
  12                                           By:         /s/ Mark T. Drooks
  13                                                             Mark T. Drooks
                                                     Attorneys for Worldwide Film Productions,
  14                                                 LLC
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